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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NORTH DAKOTA
                               SOUTHWESTERN DIVISION

United States of America,                      )
                                               )
               Plaintiff,                      )       INTERSTATE AGREEMENT ON
                                               )       DETAINERS ORDER
       vs.                                     )
                                               )
Darin James Tuenge,                            )       Case No. 1:12-cr-152
                                               )
               Defendant.                      )


       August 21, 2013, the defendant appeared for his initial appearance and arraignment.

Appearing on behalf of the United States was Special Assistant United States Attorney Julie Lawyer.

Attorney Travis Finck was appointed as defense counsel and appeared on the defendant’s behalf.

       Prior to his initial appearance, defendant was incarcerated by the State of North Dakota at

the James River Correctional Center (“JRCC”) in Jamestown, North Dakota. After the indictment

in this case was returned and an arrest warrant issued, a detainer was filed by the United States with

the North Dakota prison officials. Pursuant to the Interstate Agreement on Detainers Act (“IADA”),

the defendant’s appearance before this court for his initial appearance and arraignment was secured

by a writ of habeas corpus ad prosequendum.

       During the hearing, the defendant was advised of his rights under the IADA to continued

federal custody until the charges set forth in the indictment are adjudicated. The defendant

knowingly, voluntarily, and upon advice of counsel waived the anti-shuttling provisions of the

IADA and in open court and stipulated to his continued housing by the State of North Dakota (the

“sending state” under the IADA) at JRCC pending trial of the charges on the indictment by the



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United States (the “receiving state” under the IADA). The United States concurred in this

stipulation.

        Based on the foregoing stipulation of the defendant and the United States and the

defendant’s wavier of the anti-shuttling provisions of the IADA, IT IS HEREBY ORDERED that

the defendant be housed in the “sending state” under the IADA, at JRCC pending trial of this matter

or until further order of the court. Further, pursuant to the defendant’s waiver, the return of the

defendant to his place of incarceration pending trial shall not be grounds under the IADA for

dismissal of the charges set forth in the indictment.

        Dated this 21st day of August, 2013.



                                               /s/ Charles S. Miller, Jr.
                                               Charles S. Miller, Jr., Magistrate Judge
                                               United States District Court




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